                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

RUFINO VILLARREAL,

                     Plaintiff,                                  8:20CV403

       vs.
                                                     FINAL PROGRESSION ORDER
TODD SCHMADERER, in his individual                           (AMENDED)
capacity; CITY OF OMAHA, a Municipal
Corporation; and MARK MATUZA, in his
individual capacity;

                     Defendants.



      After conferring with the parties,

      IT IS ORDERED that the unexpired deadlines in the final progression order are
      amended as follows:

      1)     The deadline for Plaintiff to serve any written discovery is January 28, 2022.

             Note: A motion to compel, to quash, or for a disputed protective order shall
             not be filed without first contacting the chambers of the undersigned
             magistrate judge to set a conference for discussing the parties’ dispute.

      2)     The deadlines for complete expert disclosures1 for all experts expected to
             testify at trial, (both retained experts, (Fed. R. Civ. P. 26(a)(2)(B)), and non-
             retained experts, (Fed. R. Civ. P. 26(a)(2)(C)), are:

                    For the plaintiff(s):                March 7, 2022.
                    For the defendant(s):                April 5, 2022.
                    Plaintiff(s)’ rebuttal:              April 19, 2022.




      1
         While treating medical and mental health care providers are generally not
considered “specially retained experts,” not all their opinions relate to the care and
treatment of a patient. Their opinion testimony is limited to what is stated within their
treatment documentation. As to each such expert, any opinions which are not stated
within that expert’s treatment records and reports must be separately and timely
disclosed.
3)    The deposition deadline, including but not limited to depositions for oral
      testimony only under Rule 45, is May 20, 2022.

4)    The deadline for filing motions to dismiss and motions for summary
      judgment is June 20, 2022.

5)    The deadline for filing motions to exclude testimony on Daubert and related
      grounds is May 20, 2022.

6)    Motions in limine shall be filed seven days before the pretrial conference. It
      is not the normal practice to hold hearings on motions in limine or to rule on
      them prior to the first day of trial. Counsel should plan accordingly.

7)    The parties shall comply with all other stipulations and agreements recited
      in their Rule 26(f) planning report that are not inconsistent with this order.

8)    All requests for changes of deadlines or settings established herein shall be
      directed to the undersigned magistrate judge, including all requests for
      changes of trial dates. Such requests will not be considered absent a
      showing of due diligence in the timely progression of this case and the
      recent development of circumstances, unanticipated prior to the filing of the
      motion, which require that additional time be allowed.


Dated this 18th day of January, 2022.

                                         BY THE COURT:

                                         s/ Cheryl R. Zwart
                                         United States Magistrate Judge
